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MAGISTRATE’S CRIMINAL MINUTES

ARRAIGNMENT
      PLEA AND
            SENTENCE




                                                                            Time in Court:                     Hrs      48         Min

 Filed in Open Court:      Date:   1/12/2021         Time:   11:13 am           Tape:       FTR GOLD


Magistrate (presiding): LINDA T. WALKER                                         Deputy Clerk: Sonya Coggins

 Case Number:     1:20-CR-452-SDG                               Defendant’s Name:               Vida Messiah Jones

 AUSA:            Ryan Buchanan/Bret Hobson                     Defendant’s Attorney:           Mille Dunn for Rebecca Shepard

 USPO/PTR:        Jamila Crawford (via phone)                   Type Counsel: ( ) Retained ( ) CJA ( ) FPD                ( ) Waived


       ARREST DATE:

       INTERPRETER:

       INITIAL APPEARANCE HEARING. ( ) In THIS DISTRICT                                     Dft in custody? ( ) Yes       ( ) No

       Defendant advised of right to counsel.       ( ) WAIVER OF COUNSEL filed.

       ORDER appointing Federal Defender Program as counsel. ( ) INITIAL APPEARANCE ONLY.

       ORDER appointing                                                                     as counsel.

       ORDER giving defendant                                           days to employ counsel (cc: served by Mag CRD)

       Dft to pay attorney fees as follows:

       INFORMATION/COMPLAINT filed.                                                         WAIVER OF INDICTMENT filed.

       Copy indictment/information given to dft? ( ) Yes      ( ) No            Read to dft? ( ) Yes      ( ) No   ( ) Prior to Hrg

       CONSENT TO TRIAL BEFORE MAGISTRATE (Misd / Petty) offense filed.


       ARRAIGNMENT HELD.( ) Superseding indictment / information                        ( ) Dft’s WAIVER of appearance filed.

       Arraignment continued to                                  at                         Request of ( ) Govt       ( ) Dft

       Dft failed to appear for arraignment.                    Bench warrant
                                                                issued

       Dft enters PLEA OF NOT GUILTY. ( ) Dft stood mute; plea of NOT GUILTY entered. ( ) Waiver of appearance.

       MOTION TO CHANGE PLEA, and order allowing same.

       ASSIGNED TO JUDGE                                        for ( ) trial      ( ) arraignment/sentence.

       ASSIGNED TO MAGISTRATE                                           for pretrial proceedings.

       Estimated trial time:              days.                         ( ) SHORT               ( ) MEDIUM            ( ) LONG

       PRE-SENTENCE INVESTIGATION filed. Referred to USPO for PSI and continued

       until                                   at                           for sentencing.
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     ARRAIGNMENT - Pg. 2                  Case No.:    1:20-CR-452-SDG
                                          Defendant: Vida Messiah Jones



     Government MOTION FOR DETENTION filed. Hearing set for                                   at

     Temporary commitment issued.


BOND/PRETRIAL DETENTION HEARING

X    Motion Hearing HELD re [46] Motion for Hearing re Detention.

X    Government MOTION FOR DETENTION ( ) GRANTED               (X ) DENIED ( ) WITHDRAWN

X    Government requested a STAY of the bond pending an appeal to the
     District Court. STAY GRANTED through January 15, 2021.

     HEARING HELD on motion for reduction / modification of bond.

     Motion for reduction / modification of Bond   ( ) GRANTED      ( ) DENIED.

     WRITTEN ORDER TO FOLLOW.

X    BOND SET at      25,000.00

X    Non-surety

     Surety ( ) Cash        ( ) Property     ( ) Corporate surety ONLY

     SPECIAL CONDITIONS:




     Bond filed; defendant released.

X    Bond NOT EXECUTED.         Defendant to remain in Marshal’s custody.


WITNESSES:        Stephanie Bennett, (FBI) SWORN, TESTIFIED

EXHIBITS:         Government’s Exhibits 1 and 2, ADMITTED           Exhibits retained and will be forward to the Office
                                                                    of the Clerk.




SENTENCE:
